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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

 JAKUB MADEJ,
      Plaintiff,                                             Civil Action No. 20-cv-133(JCH)

         v.                                                  Jury Trial Demanded

 YALE UNIVERSITY et al.,                                     July 28, 2020
      Defendants.

                        PLAINTIFF’S ON-THE-RECORD REQUEST
                          TO DEFENDANT YALE UNIVERSITY

       Defendant Yale University (“Yale”) is hereby requested to furnish an affidavit or an

unsworn declaration pursuant to 28 U.S.C. § 1746, certifying that the factual contentions raised

in its objection (ECF #133) are true. Yale objected to plaintiff’s motion to compel responses to

seven interrogatories (ECF #129) by claiming that its counsel provided Yale’s objections to these

interrogatories twice before plaintiff moved to compel. Yale’s objection includes a colorful

narrative, and several exhibits that resemble an email and a letter. Lacking is a proper certificate

of service, an affidavit establishing service, or a certification that any factual statements Yale

made in its pleading are correct. “The principal importance of the certificate of service is to

provide the Court with clear proof that service has been accomplished.” Ives v. Guilford Mills,

Inc., 3 F. Supp. 2d 191, 195 (N.D.N.Y. 1998). Plaintiff intends to submit a reply to Yale’s

objection within the time set by Local Rules. But establishing some undisputed facts before

plaintiff replies to Yale’s objection would simplify the matters before the Court.

       For the foregoing reasons, Yale is respectfully requested to file an affidavit on the record,

on or before August 2, 2020, certifying the following contentions stated in Yale’s objection

under penalties of perjury:

   a) Yale’s counsel served the responses on plaintiff on or before June 29, 2020;
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  b) Yale’s counsel sent Yale’s responses to plaintiff via email on June 10;

  c) Yale’s counsel sent Yale’s responses through certified mail on or before June 29, 2020,

      and if so, indicate the exact address, manner of service, and any other relevant details;

  d) In doing any of the above, Yale’s counsel intended to effect proper service; and

  e) Yale’s counsel reasonably expected that Yale’s responses would likely reach plaintiff on

      or before June 29, 2020.


Dated: July 28, 2020                            Respectfully submitted,
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